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                                  3                                       UNITED STATES DISTRICT COURT
                                  4                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  7    BROWN, ET AL.,                                       Case No. 4:20-03664-YGR
                                  8                Plaintiffs,                              ORDER DENYING MOTION TO INTERVENE
                                  9           v.
                                                                                            Re: Dkt. No. 1116.
                                  10   GOOGLE, LLC,
                                  11                Defendant.
Northern District of California




                                  12
 United States District Court




                                  13          Movants, 185 plaintiffs in state court actions stemming from similar facts giving rise to this
                                  14   case, move this Court to intervene in the class action.1 Having carefully considered the papers
                                  15   submitted, and for the reasons set forth below, the Court hereby DENIES the Motion.
                                  16          Federal Rule of Civil Procedure 24 provides for intervention both permissively and as of
                                  17   right. A movant may intervene as of right where they “claim[] an interest relating to the property or
                                  18   transaction that is the subject of the action, and is so situated that disposing of the action may as a
                                  19   practical matter impair or impede the movant’s ability to protect its interest, unless existing parties
                                  20   adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). In order to intervene as of right, the
                                  21   movant must show:
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                                                        (1) the intervention application is timely; (2) the applicant has a significant
                                                        protectable interest relating to the property or transaction that is the subject of the
                                  24                    action; (3) the disposition of the action may, as a practical matter, impair or impede
                                                        the applicant's ability to protect its interest; and (4) the existing parties may not
                                  25                    adequately represent the applicant's interest.
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                                                Movants also requested a continuance of the hearing on final approval of the proposed
                                       settlement in this action. The Court did not continue the hearing but permitted movants an
                                  28   opportunity to be heard on the instant motion. As the hearing took place on August 7, 2024, the
                                       portion of the motion seeking a continuance is DENIED AS MOOT.
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                                  1    Citizens for Balanced Use v. Montana Wilderness Ass’n., 647 F.3d 893, 897 (9th Cir. 2011)
                                  2    (internal quotations omitted). Permissive intervention, by contrast, stems from a showing that a
                                  3    movant “has a claim or defense that shares with the main action a common question of law or fact.”
                                  4    Fed. R. Civ. P. 24(b)(1)(B). “An applicant who seeks permissive intervention must prove that it
                                  5    meets three threshold requirements: (1) it shares a common question of law or fact with the main
                                  6    action; (2) its motion is timely; and (3) the court has an independent basis for jurisdiction over the
                                  7    applicant's claims. . . . Even if an applicant satisfies those threshold requirements, the district court
                                  8    has discretion to deny permissive intervention.” Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir.
                                  9    1998) (internal cites omitted).
                                  10            Here, movants fail to meet the criteria for either form of intervention. As an initial matter,
                                  11   the timeliness element of both tests is fatal to this intervention effort. The motion was filed on the
                                  12   eve of the hearing for final approval of the class settlement, and well over a year since the Court
Northern District of California
 United States District Court




                                  13   denied certification of a damages class in this case. At oral argument, movants’ counsel stated that
                                  14   he was unaware of class members’ voluntary relinquishment of their rights to appeal contained
                                  15   within the proposed settlement until April 1, 2024. Even so, he failed to explain the three-month
                                  16   delay in moving to intervene. The lack of timeliness itself is sufficient to defeat intervention.
                                  17            Nonetheless, a second reason compels denial. The proposed settlement relates to injunctive
                                  18   relief only, and the Court thus fails to see how the outcome of the hearing for final approval will
                                  19   impact, let alone impair or impede, would-be intervenors’ interests as individual claims can be
                                  20   asserted, and in fact, many have. When pressed at argument to articulate what specific interest
                                  21   movants seek to preserve or defend by intervening, counsel was unable to identify a single one.
                                  22   Counsel invoked in a general sense the appellate rights class members have agreed to waive should
                                  23   the Court approve final settlement but could not identify any specific reason he would seek to do
                                  24   so.
                                  25            Finally, there is no indication that class counsel have acted in any manner incompatible with
                                  26   movants’ interests. As plaintiffs note in opposing the motion, “the Moving Parties fall far short of
                                  27   explaining why [the Tolling] Agreement impedes their rights,” as there “is nothing extraordinary
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                                  1    about the existence of a Tolling Agreement related to individual actions—which seek different
                                  2    relief than the Settlement and was filed in a separate court.” (Dkt. No. 1119 at 8.)
                                  3           For similar reasons, the Court declines to grant permissive intervention. This case has been
                                  4    heavily litigated for over four years, and the Court will not prejudice the parties with further delay
                                  5    as it prepares to consider the proposed final settlement. As the Court stated at argument, the
                                  6    proposed settlement reflects years of hard work that intervention could very well derail.
                                  7    Furthermore, permitting intervenors to freeload off of class counsel’s years of hard work with an
                                  8    eleventh-hour motion raises fundamental fairness concerns.
                                  9           For the reasons stated herein, the motion to intervene and continue the hearing is DENIED.
                                  10          This terminates Docket No. 1116.
                                  11          IT IS SO ORDERED.
                                  12   Date: August 12, 2024                            _______________________________________
Northern District of California




                                                                                                YVONNE GONZALEZ ROGERS
 United States District Court




                                  13                                                       UNITED STATES DISTRICT COURT JUDGE
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